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                       Exhibit J
Case: 1:22-cv-03931 Document #: 9-10 Filed: 07/28/22 Page 2 of 29 PageID #:449




                     Exhibit J1
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      11/5/14
Date: ______________
                Kristen J. Long
Employee Name: ________________________________________________________

Employee Work Number: _________________________________________________
                               REDACTED
Mobile Phone Number: _                            _____________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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    standards for mobile security and management, including minimum hardware and software
    versions, password policies, compromised OS, encryption and application restrictions.

10. I have the right to opt out of the program and all corporate access and corporate data will be
    removed from my device. I am also responsible for removing any corporate data from all other
    locations where it has been copied or replicated.

11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
    destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
    on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
    advance notice.

13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
    acceptance of these policies.




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                     Exhibit J2
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      5/6/21
Date: ______________
                  Sara Arnold
Employee Name: ________________________________________________________

Employee Work Number: _________________________________________________
                                REDACTED
Mobile Phone Number:                          ________________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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    standards for mobile security and management, including minimum hardware and software
    versions, password policies, compromised OS, encryption and application restrictions.

10. I have the right to opt out of the program and all corporate access and corporate data will be
    removed from my device. I am also responsible for removing any corporate data from all other
    locations where it has been copied or replicated.

11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
    destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
    on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
    advance notice.

13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
    acceptance of these policies.




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                      Exhibit J3
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      10/7/21
Date: ______________
                  Taylor Gunnells
Employee Name: ________________________________________________________

Employee Work Number: _________________________________________________
                            REDACTED
Mobile Phone Number:                         _________________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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     standards for mobile security and management, including minimum hardware and software
     versions, password policies, compromised OS, encryption and application restrictions.

 10. I have the right to opt out of the program and all corporate access and corporate data will be
     removed from my device. I am also responsible for removing any corporate data from all other
     locations where it has been copied or replicated.

 11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
     destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
     on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

 12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
     advance notice.

 13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


 14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
     acceptance of these policies.




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                      Exhibit J4
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      10/27/20
Date: ______________
                  Melissa Haggerty
Employee Name: ________________________________________________________
                         +1 312 803-6066
Employee Work Number: _________________________________________________
                         REDACTED
Mobile Phone Number:                   ______________________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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     standards for mobile security and management, including minimum hardware and software
     versions, password policies, compromised OS, encryption and application restrictions.

 10. I have the right to opt out of the program and all corporate access and corporate data will be
     removed from my device. I am also responsible for removing any corporate data from all other
     locations where it has been copied or replicated.

 11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
     destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
     on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

 12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
     advance notice.

 13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


 14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
     acceptance of these policies.




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                      Exhibit J5
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      1/11/15
Date: ______________
                Kelly Nicole Hogan
Employee Name: ________________________________________________________

Employee Work Number: _________________________________________________
                            REDACTED
Mobile Phone Number:                          ________________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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     standards for mobile security and management, including minimum hardware and software
     versions, password policies, compromised OS, encryption and application restrictions.

 10. I have the right to opt out of the program and all corporate access and corporate data will be
     removed from my device. I am also responsible for removing any corporate data from all other
     locations where it has been copied or replicated.

 11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
     destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
     on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

 12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
     advance notice.

 13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


 14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
     acceptance of these policies.




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                      Exhibit J6
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      1/10/16
Date: ______________
                  Jordan Laeyendecker
Employee Name: ________________________________________________________

Employee Work Number: _________________________________________________
                            REDACTED
Mobile Phone Number:                        __________________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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     standards for mobile security and management, including minimum hardware and software
     versions, password policies, compromised OS, encryption and application restrictions.

 10. I have the right to opt out of the program and all corporate access and corporate data will be
     removed from my device. I am also responsible for removing any corporate data from all other
     locations where it has been copied or replicated.

 11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
     destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
     on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

 12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
     advance notice.

 13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


 14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
     acceptance of these policies.




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                      Exhibit J7
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Mobile Device Policy:

For all employees and contractors, approved personal smartphones and mobile devices can be used to
connect to corporate email and IT resources as long the employee or contractor agrees to these policies
and the policies in the Mobile Device Security Policy.

No connectivity will be provided to any employee or contractor who does not agree in writing to these
policies.




      12/11/14
Date: ______________
                Janet M. Schumacher
Employee Name: ________________________________________________________

Employee Work Number: _________________________________________________
                           REDACTED
Mobile Phone Numb                            _________________________________




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As an employee of the Arthur J. Gallagher & Co. companies, I acknowledge and agree to comply with
the following Arthur J. Gallagher Mobile Device Policy:

   1. I own my personal mobile device and will be using it to conduct Arthur J. Gallagher business. It
      is my responsibility, in addition to the efforts of Arthur J. Gallagher, to protect corporate data on
      my personal mobile device.

   2. That I am responsible for providing and maintaining my mobile device, cellular service plan(s) for
      my device, any necessary equipment and accessories for my device.

   3. That I am solely responsible for any and all expenses incurred from the use or loss of my mobile
      device and that Arthur J. Gallagher has no financial liability for my mobile device, service plan,
      and any necessary equipment and accessories for my mobile device.

   4. When using my mobile device I shall observe all applicable local, state and/or federal laws
      including all such laws restricting the use of mobile devices while driving. I will not use my
      mobile device for any unauthorized, unintended, unsafe, hazardous, or unlawful purposes, or in
      any manner prohibited by regulation, ordinance or corporate policy. I further understand that,
      if I am charged with any criminal or traffic violations or civil misconduct resulting from the use of
      my mobile device while driving, I will be solely responsible for all liabilities that result from such
      action.

   5. That the Mobile Iron agent or similar software will be installed on my mobile device. This
      provides protection Arthur J. Gallagher’s data by encryption of the data. It also provides the
      tools to erase Arthur J. Gallagher data from my device in the event of a security breach or
      notification from the end-user that the device has been lost/stolen/misplaced.

   6. Arthur J. Gallagher reserves the right to wipe all Gallagher data from the mobile device in the
      event of employee or contractor separation from the company. Where possible, reasonable
      attempts will be made to preserve personal data on the device. I absolve Arthur J. Gallagher of
      any liability resulting from the loss of personal data in the event of a full device wipe.

   7. If I become the subject of a legal hold as a custodian of Arthur J. Gallagher Company Records, I
      must surrender my mobile device immediately if requested and all relevant files may be copied
      and used by Arthur J. Gallagher. When devices are subject to legal discovery, all files and data
      on the device will be retained and processed in a manner consistent with corporate owned
      devices.

   8. That a password on the mobile device must be maintained at all times. After 10 failed password
      attempts to log into the device the Gallagher data will be automatically wiped. Passwords must
      be kept private. I will not share passwords with anyone, write them down or use them in public
      or common areas without adequate precautions.

   9. That Arthur J. Gallagher has the right, at any time and without notice, to suspend or deny access
      to corporate resources, including email, to mobile devices that fail to meet Arthur J. Gallagher’s



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     standards for mobile security and management, including minimum hardware and software
     versions, password policies, compromised OS, encryption and application restrictions.

 10. I have the right to opt out of the program and all corporate access and corporate data will be
     removed from my device. I am also responsible for removing any corporate data from all other
     locations where it has been copied or replicated.

 11. To the maximum extent permitted by law, Arthur J. Gallagher will have no liability for the loss,
     destruction, loss of use, theft or misuse of or damage to my mobile device or any personal data
     on my mobile device, even if caused by Arthur J. Gallagher’s actions or failure to act.

 12. That Arthur J. Gallagher may change or terminate this program at any time upon thirty (30) days
     advance notice.

 13. I have read and will abide by the Arthur J. Gallagher Mobile Device Policy.


 14. Installation of Arthur J. Gallagher Mobile Device Management tools carries and implicate
     acceptance of these policies.




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